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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

   OSBALDO JOSE-NICOLAS,

                      Plaintiff,

   v.                                       Case No. 15-CV-00964-NJR-GCS

   NATHAN BERRY, et. al.,

                      Defendants.

                AMENDED JUDGMENT IN A CIVIL ACTION

  DECISION BY THE COURT.

        IT IS ORDERED AND ADJUDGED that Defendants S. Hill, Marvin Bochantin,

  and Linda Carter were DISMISSED by the filing of an amended complaint (Doc. 15).

        IT IS FURTHER ORDERED AND ADJUDGED that Defendant Unknown

  Menard Physician was DISMISSED by the filing of an amended complaint (Doc. 50).

        IT IS FURTHER ORDERED AND ADJUDGED that, pursuant to the Order dated

  July 8, 2016 (Doc. 64), Defendants Wexford Health Sources, Inc. and John Trost were

  DISMISSED without prejudice.

        IT IS FURTHER ORDERED AND ADJUDGED that, pursuant to the Order dated

  December 30, 2016 (Doc. 80), Defendant Kimberly Butler was DISMISSED with

  prejudice.

        IT IS FURTHER ORDERED AND ADJUDGED that, pursuant to the Order dated

  March 2, 2018 (Doc. 127), Defendant Richard Harrington was DISMISSED with

  prejudice.



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         IT IS FURTHER ORDERED AND ADJUDGED that, pursuant to the Order

  entered on May 2, 2019 (reflecting that this case has settled in its entirety) (Doc. 240), the

  Court VACATES the previously entered Clerk’s Judgment (Doc. 207) on the jury’s

  verdict which was entered on August 20, 2018, and this entire action is DISMISSED with

  prejudice.

         DATED: February 11, 2020


                                                    MARGARET M. ROBERTIE,
                                                    Clerk of Court

                                                    By: s/ Deana Brinkley
                                                           Deputy Clerk

  APPROVED: s/ Nancy J. Rosenstengel
            NANCY J. ROSENSTENGEL
            Chief U.S. District Judge




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